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UNITED STATES DISTRICT COURT

DISTRICT OF DELAWARE
ELIZABETH THOMAS Case No. 23-CV-01047(CFC)
APPELLANT
vs. FILED
PCF INVESTMENTS INC, A/K/A ECR 9 EN
PCF PROPERTIES IN TEXAS LLC. Wo
U.S, DESTRICH ev
APPELLEES DISTRICT OF DELAWARE

NOTICE OF APPEARANCE
PLEASE TAKE NOTICE, that, Omar Perez, one the managing members of PCF
Investments Inc., a/k/a PCF Properties in Texas LLC., (the “Appellees”), files this notice of
appearance and provides the following correspondence contact information as follows:

Address: PCF Investments Inc.,
PCF Properties in Texas LLC.
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Attn: Attorney Alzadia Spires

Respectfully submitted,

Omar Perez Managing Member

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